                            IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF ALABAMA
                                       NORTHERN DIVISION


    In re:                                                         Chapter 11

    REMINGTON OUTDOOR COMPANY,                                     Case No. 20-81688-CRJ-11
    INC., et al.1
                                                                   Jointly Administered
                     Debtors.

       OBJECTION OF OFFICIAL COMMITTEE OF UNSECURED CREDITORS TO
     DEBTORS’ MOTION FOR ORDERS PURSUANT TO 11 U.S.C. §§ 105, 361, 362, 363,
    364, 503 AND 507 (I) AUTHORIZING USE OF CASH COLLATERAL, (II) GRANTING
             ADEQUATE PROTECTION, (III) MODIFYING AUTOMATIC STAY,
     (IV) GRANTING RELATED RELIEF, AND (V) SCHEDULING A FINAL HEARING
             The Official Committee of Unsecured Creditors of Remington Outdoor Company, Inc., et

al. (the “Committee”), hereby submits its objection (the “Objection”) to the Debtor’s Motion for

Orders Pursuant to 11 U.S.C. §§ 105, 361, 362, 363, 364, 503 and 507 (I) Authorizing Use of Cash

Collateral, (II) Granting Adequate Protection, (III) Modifying Automatic Stay, (IV) Granting

Related Relief, and (V) Scheduling a Final Hearing [ECF No. 7] (the “Motion2”), and respectfully

states as follows:

                                 I.      PRELIMINARY STATEMENT

             The stated goals of these Chapter 11 Cases are to “effectuate a prompt sale of substantially

all of [the Debtor’s] assets” and “confirm a Chapter 11 Plan to address their existing obligations


1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, as applicable, are: Remington Outdoor Company, Inc. (4491); FGI Holding Company, LLC (9899); FGI
Operating Company, LLC (9774); Remington Arms Company, LLC (0935); Barnes Bullets, LLC (8510); TMRI,
Inc.(3522); RA Brands, L.L.C. (1477); FGI Finance, Inc. (0109); Remington Arms Distribution Company, LLC
(4655); Huntsville Holdings LLC (3525); 32E Productions, LLC (2381); Great Outdoors Holdco, LLC (7744); and
Outdoor Services, LLC (2405). The Debtors’ corporate headquarters are located at 100 Electronics Boulevard SW,
Huntsville, AL 35824.
2
  All capitalized terms not defined herein shall carry the meaning assigned to them in the Motion or the Declaration
of Ken D’Arcy in Support of Chapter 11 Petitions and First Day Pleadings of Remington Outdoor Company, Inc. and
its Affiliated Debtors and Debtors-In-Possession (the “Declaration” or “Decl.”), as applicable.

113200116
4844-7356-1799v1
2616900-014462 08/13/2020

Case 20-81688-CRJ11               Doc 322 Filed 08/13/20 Entered 08/13/20 11:58:38                          Desc
                                   Main Document     Page 1 of 21
that are not otherwise assumed through the sale.” Decl. ¶ 10. The Proposed Order authorizing use

of cash collateral only advances one of these goals – a prompt sale – while relegating the Debtors’

estates to administrative insolvency and a likely chapter 7 conversion. Onerous lending terms and

severe liquidity constraints imposed by the Prepetition Secured Creditors are among the factors

that led to the Debtors’ second chapter 11 filing in as many years. To deal with their liquidity

issues prior to filing bankruptcy, the Debtors deferred under the CARES Act and otherwise failed

to pay federal firearms and ammunition excise taxes to the tune of $16.5 million.3 Having already

reaped the benefit of this federal tax windfall and $25 million of additional unsecured debt, the

Prepetition Secured Creditors continue to restrict the Debtors’ liquidity and obtain benefits from

the chapter 11 process at the expense of unsecured creditors.

         The proposed cash collateral agreement has been described as “synthetic” debtor-in-

possession (“DIP”) financing arrangement and indeed has all of the hallmarks of DIP loan. Akin

to a commitment fee for DIP financing, the Proposed Order includes an excessive Consent Fee

that is based not on the additional liquidity provided to the Debtors’ estates ($23,500,000), but

rather the entirety of the Petition Date Priority Term Loan Amount (approximately $78,100,000,

including prepayment premium and exit fees of $2.6 million). In turn, the Debtors will have to

pay Whitebox Advisors approximately $2.7 million merely to access their own cash to fund a sale

process for the primary benefit of Whitebox Advisors. The Debtors are also required to pay the

Prepetition Secured Creditors’ default interest and professional fees, and the Proposed Order




3
 The Motion estimates the Excise Tax liability at $14.8 million, while the Taxes Motion estimates the
amount as $16.5 million. Based on the Committee’s review, the actual prepetition liability appears to be
approximately $16.5 million – $13.5 million for 2020 Q1 and Q2, and approximately $3.0 million for the
beginning of Q3.

                                                   2

4844-7356-1799v1
2616900-014462 08/13/2020

Case 20-81688-CRJ11           Doc 322 Filed 08/13/20 Entered 08/13/20 11:58:38                   Desc
                               Main Document     Page 2 of 21
purports to grant the Prepetition Secured Creditors an absolute right to credit bid their alleged

secured claims.

         While the Prepetition Secured Creditors would continue restricting the Debtors’ access to

cash, charge exorbitant fees, and seek to have their claims paid upon sale outside of a confirmed

chapter 11 plan, the proposed Budget fails to account for substantial administrative and priority

claims, including the aforementioned Excise Taxes and section 503(b)(9) claims. These budget

deficiencies present an insurmountable barrier to plan confirmation. In the meantime, the Proposed

Order would enable the Prepetition Secured Creditors to use the Chapter 11 Cases to maximize

the value of their alleged collateral at a substantial premium compared to what they would obtain

through a state court foreclosure proceeding. Finally, the Proposed Order provides broad releases

in favor of the Prepetition Secured Creditors and unreasonably limits the Committee’s ability to

investigate potential objections, claims and causes of action against them. Unless and until the

Committee’s investigation is complete, no Challenges have been asserted, and a sufficient wind

down budget is reserved, the Prepetition Secured Creditors should not be paid directly upon sale

of substantially all of the Debtors’ assets as currently proposed.

         While the Committee is supportive of a going concern sale process that maximizes the

value of the Debtors’ assets for the benefit of creditors, the Court should not approve a cash

collateral arrangement for the sole benefit of the Prepetition Secured Creditors. For the reasons,

as further discussed below, absent substantial modifications to the Proposed Order that

appropriately balance the interests of all creditors and maintain the reasonable prospect of

confirming a plan, the Committee respectfully requests that the Court deny the Motion.




                                                  3

4844-7356-1799v1
2616900-014462 08/13/2020

Case 20-81688-CRJ11          Doc 322 Filed 08/13/20 Entered 08/13/20 11:58:38               Desc
                              Main Document     Page 3 of 21
                                 II.     RELEVANT BACKGROUND

    A.        The Chapter 11 Cases

         1.        On July 28, 2020, the Debtors filed the above-captioned Chapter 11 Cases. The

same day, the Debtors filed the Motion, as well as the Debtor’s Motion for (I) an Order

Establishing Bidding Procedures and Granting Related Relief and (II) an Order or Orders

Approving the Sale of the Debtors’ Assets [ECF No. 29] (the “Sale Motion”).

         2.        On August 6, 2020 (the “Appointment Date”), the Bankruptcy Administrator for

the Northern District of Alabama appointed the Committee. See [ECF No. 217].

    B.        The Prepetition Claims

         3.        According to the Debtors, the Prepetition Secured Creditors hold aggregate

prepetition claims in the amount of $241,207,574.49 as follows: (i) a priority Term Loan Facility

with a balance of approximately $75,500,000 owed to the Priority Term Loan Lenders;4 (ii) a FILO

Term Loan Facility with a balance of approximately $55,000,000 owed to the FILO Lenders;5 and

(iii) an Exit Term Loan Facility with a balance of approximately $110,700,000 owed to the Exit

Term Loan Lenders.6 Decl. ¶¶ 27, 30, 33. The relationship between the Debtors and the

Prepetition Secured Creditors, including each party’s relative rights, priority and remedies, is


4
 The Priority Term Loan Agent is Cantor Fitzgerald Securities. The Priority Term Loan Lender is Whitebox Advisors
LLC (“Whitebox Advisors”).
5
 The FILO Agent is Ankura Trust Company, LLC. The FILO Lenders are believed to include Pandora Select Partners,
LP, Ankura Trust Company, LLC, Funds and accounts managed by Franklin Advisers, Inc., JPMorgan Chase Bank,
N.A., and funds and accounts managed by JPMorgan Chase Bank, N.A., J.P. Morgan Investment Management Inc.,
funds and accounts managed by J.P. Morgan Investment Management Inc., Lord Abbett, funds and accounts managed
by Lord Abbett Renaissance Investment Holdings Ltd., and the Teachers Retirement Systems of Oklahoma.
6
 The Exit Term Loan Agent is Ankura Trust Company, LLC. The Exit Term Lenders are believed to include funds
and accounts managed by Franklin Advisers Inc., funds and accounts managed by JPMorgan Chase Bank, N.A., Lord
Abbet Investment Trust, funds and accounts managed by Lord Abbet, Commander Navy Installations Command
Retirement Trust, and the Teachers Retirement Systems of Oklahoma.

                                                       4

4844-7356-1799v1
2616900-014462 08/13/2020

Case 20-81688-CRJ11              Doc 322 Filed 08/13/20 Entered 08/13/20 11:58:38                         Desc
                                  Main Document     Page 4 of 21
governed by a prepetition Intercreditor Agreement between the Debtors and the Prepetition

Agents. Decl. ¶ 34.

         4.        Prior to the Petition Date, the Debtors allegedly faced severe liquidity pressure due

to both “unfavorable business trends” and the borrowing base floor requirements imposed by the

Priority Term Loan Facility. Decl. ¶¶ 26, 40, 44. Rather than prepay the Priority Term Loan

Facility, which would trigger prepayment and exit fees, the Debtors were required to deposit cash

in a blocked account – the Dominion Account – controlled by the Priority Term Loan Lenders to

meet the borrowing base deficiency. Decl. ¶ 26. As of the Petition Date, the Debtors had

transferred approximately $38.7 million of cash collateral to the Dominion Account. Decl. ¶ 26.

         5.        The Priority Term Loan Lenders are oversecured and thus have an equity cushion

in their alleged collateral in an undisclosed amount. Motion at 11 (“As of the Petition Date, the

value of the collateral securing the Priority Term Loan Obligations exceeded the amount of the

Priority Term Loan Obligations.”).

         6.        As a direct result of the prepetition liquidity pressure exerted by the Priority Term

Loan Lender, the Debtors deferred payment of a firearms and ammunition excise tax under 26

U.S. § 4181 (the “Excise Tax”) pursuant to a provision in the CARES Act. Decl. ¶ 45. The amount

of the Excise Tax is allegedly $14.8 million, but more current information obtained by the

Committee’s financial advisor suggests that the liability could be as much as $16 million. Motion

at 7. The Debtors estimate an additional $25 million in outstanding claims owed to their vendors,

suppliers and service providers. Decl. ¶ 37.

    C.        Proposed Use of Cash Collateral

         7.        The Motion seeks entry of interim and final orders approving the Debtors’ use of

Cash Collateral of the Prepetition Secured Creditors. The Prepetition Secured Creditors have

                                                     5

4844-7356-1799v1
2616900-014462 08/13/2020

Case 20-81688-CRJ11             Doc 322 Filed 08/13/20 Entered 08/13/20 11:58:38                 Desc
                                 Main Document     Page 5 of 21
agreed to permit the Debtors to access $23.5 million in the Dominion Account. Motion at 20. The

Debtors state that the use of Cash Collateral is critical to their “ability to finance their operations,

maintain business relationships, pay employees, protect the value of their assets, and otherwise

finance their operations.” Motion at 19. As it relates to the Debtors’ sale efforts, “any buyer

looking to acquire the Debtors’ assets as a going concern will want to make sure that the Debtors’

operations remain stable.” Motion at 19.

         8.        The adequate protection contemplated by the Motion includes: payment of

postpetition interest at the default rate; superpriority liens on all assets of the Debtors; superpriority

administrative claims; and a “Consent Fee” payable to the Priority Term Loan Lenders in the

amount of 3.50% of their total prepetition claim.

         9.        On July 30, 2020, the Court entered an Interim Order pursuant to 11 U.S.C. §§ 105,

361, 362, 363, 364, 593 and 507 (1) Authorizing Use of Cash Collateral, (II) Granting Adequate

Protection, (III) Modifying Automatic Stay, (IV) Granting Related Relief, and (V) Scheduling a

Final Hearing [ECF No. 90]. The Budget attached to the Interim Order includes a so-called wind

down budget with low ($9 million) and high case ($13.9 million) scenarios for post-sale

bankruptcy related expenses and accrued operating expenses. It is not clear from the Proposed

Order whether the Debtors will have access to the high case amount if required to fund

administrative and priority claims, and it should. Moreover, the Debtors’ ability to use these funds

post-sale should not be strictly limited to the specific line items set forth in the wind down budget.

         10.       A final hearing on the Motion is scheduled for August 18, 2020, at which time the

Debtors will request entry of a proposed final order (the “Proposed Order”) granting the Motion.

[ECF No. 266].



                                                    6

4844-7356-1799v1
2616900-014462 08/13/2020

Case 20-81688-CRJ11             Doc 322 Filed 08/13/20 Entered 08/13/20 11:58:38                   Desc
                                 Main Document     Page 6 of 21
                                          III.    OBJECTION

         11.       Rather than obtain debtor in possession financing from a third party to finance their

operations through a sale, the Debtors have elected to use cash collateral of the Prepetition Secured

Creditors. Given the nature of Priority Term Loan Lender’s control over the Debtors’ cash, the

Priority Term Loan Lender is in a position to dictate onerous terms.

         12.       In this context, courts recognize that “debtors-in-possession generally enjoy little

negotiating power with a proposed lender, particularly when the lender has a pre-petition lien on

cash collateral.” Resolution Trust Corp. v. Official Unsecured Creditors’ Comm. of Defender Drug

Stores, Inc. (In re Defender Drug Stores, Inc.), 145 B.R. 312, 317 (B.A.P. 9th Cir. 1992). See also

In re The Colad Grp., Inc., 324 B.R. 208, 219 (Bankr. W.D.N.Y. 2005) (noting that the proposed

postpetition lender, also the debtor’s prepetition lender, was in a position to dictate terms, and thus

the proposed postpetition financing facility did not represent fair terms). As a result, courts are

generally cautious not to approve financing terms that are considered harmful to the estate and

creditors. See, e.g., In re Ames Dep’t Stores, Inc., 115 B.R. 34, 40 (Bankr. S.D.N.Y. 1990) (noting

that “the court’s discretion under section 364 is to be utilized on grounds that permit reasonable

business judgment to be exercised so long as the financing agreement does not contain terms that

leverage the bankruptcy process and powers or its purpose is not so much to benefit the estate as

it is to benefit a party-in-interest”).

         13.       While certain terms favorable to a lender may be permitted as a reasonable exercise

of the debtor’s business judgment, bankruptcy courts have not approved financing arrangements

that convert the bankruptcy process from one designed to benefit all creditors to one designed for

the sole (or primary) benefit of the lender. See In re Tenney Vill. Co., 104 B.R. 562 (Bankr. D.N.H.

1989); Defender Drug Stores, 145 B.R. at 317.

                                                     7

4844-7356-1799v1
2616900-014462 08/13/2020

Case 20-81688-CRJ11             Doc 322 Filed 08/13/20 Entered 08/13/20 11:58:38                 Desc
                                 Main Document     Page 7 of 21
         14.       The Proposed Order is a clear product of overreaching by the Prepetition Secured

Creditors, created by the kind of imbalance in negotiating leverage cautioned against in the

foregoing cases. The Proposed Order makes clear that the purpose of these Chapter 11 Cases is

not to maximize the value of the Debtors’ estates, but to dispose of the Prepetition Secured

Creditors’ alleged collateral at great cost and expense to the Debtors and the unsecured creditors.

    A.      The Consent Fee is Excessive and Should Not Be Approved.

         15.       One of the many forms of adequate protection provided to the Priority Term Loan

Lenders is a “Consent Fee” of 3.50%. While DIP lenders often charge a commitment fee for new

money loaned to debtor in possession, the Consent Fee is a similar charge for the Debtors’ use of

their own cash. Moreover, the Consent Fee is not based on the funds that are being made available

to the Debtors, but rather the entire balance of the Priority Term Loan Lenders’ prepetition claim

(approximately $78,100,000), which results in a fee of approximately $2.7 million. The Consent

Fee is in addition to payment of (a) postpetition interest at the Default Rate of 13.5%, (b) an Exit

Fee, and (c) a Prepayment Premium. Whitebox Advisors is also entitled to recover interest on the

Consent Fee, which is PIK’d until the claim is paid. Proposed Order ¶¶E (i), G (ii)(a). Although

the Consent Fee could have been reduced to 2.50% if the Debtors had secured a stalking horse

bidder within ten (10) days of the Petition Date, that deadline passed without satisfying that

condition. Proposed Order ¶E (i).

         16.       The Priority Term Loan Lenders are only entitled to “adequate protection” for the

use of their cash collateral. 11 U.S.C. § 363(e). Under § 361 of the Bankruptcy Code, adequate

protection may be provided by any of cash payments, the grant of additional or replacement liens,

or the grant of such other relief as will result in the creditor realizing the “indubitable equivalent”

of its security interest. See 11 U.S.C. § 361; see also In re Coker, 216 B.R. 843, 855 (Bankr. N.D.

                                                   8

4844-7356-1799v1
2616900-014462 08/13/2020

Case 20-81688-CRJ11             Doc 322 Filed 08/13/20 Entered 08/13/20 11:58:38                Desc
                                 Main Document     Page 8 of 21
Ala. 1997). The Consent Fee is none of these. Charging a fee in addition to receiving default

interest payments, prepayment premiums, exit fees, adequate protection liens, and super-priority

claims is not a component of adequate protection and is therefore not permitted by the Bankruptcy

Code. The Debtors contend that the Priority Term Loan Lender is over-secured and they should

be required to demonstrate why the Priority Term Loan Lender’s interests are not adequately

protected by an equity cushion. In any event, the excessive Consent Fee should not be permitted.

         17.       Even in the DIP financing context (which this is not), where lender fees are

common, the fee must be reasonable and typically is based on the size on the lending facility. In

particular, “a proposed financing will not be approved where it is apparent that the purpose of the

financing is to benefit a creditor rather than the estate.” Ames Dep’t Stores, 115 B.R. at 39; see

also See In re Aqua Assocs., 123 B.R. 192, 195-98 (Bankr. E.D. Pa. 1991) (“[C]redit should not

be approved when it is sought for the primary benefit of a party other than the debtor.”). To this

end, courts should approve postpetition financing to the extent it is “in the best interests of the

general creditor body.” In re Roblin Indus., 52 B.R. 241, 244 (Bankr. W.D.N.Y. 1985).

         18.       The Consent Fee, by contrast, is not based on the Cash Collateral advanced to the

Debtors, but on the entire claim of the Priority Term Loan Lenders. The Consent Fee charged by

the Priority Term Loan Lenders, calculated as a percentage of the proposed Cash Collateral made

available under the Proposed Order, is 11.6%, far above the median of 2.0% of similar-size DIP

loans approved in recent cases. When combined with the default interest rate proposed to be paid,

the Priority Term Loan Lenders will earn an annualized rate of return of 109.3% on the $23.5

million of Cash Collateral made available to the Debtors. The Consent Fee is a clear overreach by

Whitebox Advisors and should not be approved by the Court.



                                                   9

4844-7356-1799v1
2616900-014462 08/13/2020

Case 20-81688-CRJ11             Doc 322 Filed 08/13/20 Entered 08/13/20 11:58:38              Desc
                                 Main Document     Page 9 of 21
    B.      The Proposed Order: (i) prevents the Debtors from using Cash Collateral and Sale
            Proceeds to pay administrative and priority claims; and (ii) eliminates the Debtors’
            ability to surcharge the Prepetition Secured Creditors’ collateral.

         19.       The Proposed Order will force the Debtors into administrative insolvency and

prevent confirmation of a chapter 11 plan.

         20.       First, the Budget has glaring deficiencies that will undoubtedly render the Debtors’

estates administratively insolvent and otherwise unable to confirm a chapter 11 plan following the

proposed sale. Specifically, the Budget fails to provide for payment of: (i) administrative claims

under § 503(b)(9) (the Committee has not even received an estimate of § 503(b)(9) claims); (ii)

the priority Excise Taxes, which are estimated to be approximately $16 million (for the period of

January 2020 through the Petition Date); and (iii) the costs of curing defaults under executory

contracts. Moreover, the Budget assumes payment of only $250,000 in quarterly bankruptcy fees,

which represent one quarterly payment when the Chapter 11 Cases will most assuredly continue

through the fourth quarter of 2020. Without payment of these claims, confirmation of a chapter

11 plan will be impossible. In total, the Committee estimates that the Budget fails to account for

approximately $20 million of potential administrative and priority claims that must be paid to

confirm a chapter 11 plan.

         21.       Further complicating the matter, upon the closing of a sale, the Proposed Orders

require payment of the “Net Sale Proceeds” to the Priority Term Loan Secured Creditors. Proposed

Order ¶ G(ii)(e). The term “Net Sale Proceeds” accounts only for payment of various costs of sale

as well as “such other administrative expenses . . . that are set forth in the Budget . . . or such other

wind-down budget as may be reasonably agreed by the Debtors and the Prepetition Secured

Creditors.” Id. In other words, after the Secured Creditors achieve their objective of a sale, the

Debtors will have no ability to pay administrative and priority claims as required to confirm a

                                                    10

4844-7356-1799v1
2616900-014462 08/13/2020

Case 20-81688-CRJ11             Doc 322 Filed 08/13/20 Entered 08/13/20 11:58:38                  Desc
                                 Main Document    Page 10 of 21
chapter 11 plan. The Prepetition Secured Creditors will be in a position to leave the federal

government and other creditors of these estates holding the proverbial bag. The Court should not

approve a cash collateral order that allows for distribution of sale proceeds to the Prepetition

Secured Creditors without (i) a mechanism for payment of administrative and priority claims, and

(ii) an opportunity for the Committee to examine and Challenge, if necessary, the Secured

Creditors’ liens and then having to seek disgorgement of funds.

         22.       Second, the Proposed Order grants the Prepetition Secured Creditors “the benefits

of a waiver of (i) the provisions of Section 506(c) of the Bankruptcy Code” and “(ii) any ‘equities

of the case’ claims under Section 552(b) of the Bankruptcy Code.” Proposed Order ¶ H. The

effect of these waivers is to eliminate one of the only potential avenues of recovery for the estates

and shifts the burden of preserving the Prepetition Secured Creditors’ collateral to the unsecured

creditors. See, e.g., Precision Steel Shearing v. Fremont Fin. Corp. (In re Visual Indus.), 57 F.3d

321, 325 (3d Cir. 1995) (“[Section] 506(c) is designed to prevent a windfall to the secured creditor

. . . . The rule understandably shifts to the secured party . . . the costs of preserving or disposing of

the secured party’s collateral, which costs might otherwise be paid from the unencumbered assets

of the bankruptcy estate. . . .”) (internal citation omitted); see also In re Codesco, Inc., 18 B.R.

225, 230 (Bankr. S.D.N.Y. 1982) (“The underlying rationale for charging a lienholder with the

costs and expenses of preserving or disposing of the secured collateral is that the general estate

and unsecured creditors should not be required to bear the cost of protecting what is not theirs.”);

In re Muma Servs., 322 B.R. 541, 558-59 (Bankr. D. Del. 2005) (quoting Delbridge v. Prod. Credit

Ass’n & Fed. Land Bank, 104 B.R. 824, 826 (E.D. Mich. 1989) (“The purpose of the [§ 552(b)]

exception is to prevent a secured creditor from reaping benefits from collateral that has appreciated



                                                   11

4844-7356-1799v1
2616900-014462 08/13/2020

Case 20-81688-CRJ11             Doc 322 Filed 08/13/20 Entered 08/13/20 11:58:38                  Desc
                                 Main Document    Page 11 of 21
in value as a result of the [debtor-in-possession’s] use of other assets of the estate (which normally

would go to general creditors) to cause the appreciated value.”).

         23.       The waivers thus permit the Prepetition Secured Creditors to reap the benefits of

the sale process while failing to pay the freight of the associated costs of the Chapter 11 Cases. If

the Prepetition Creditors wish to utilize the Chapter 11 Cases to dispose of their collateral but will

not voluntarily pay administrative and priority claims, the Debtors should preserve their rights

under §§ 506(c) and 552(b) of the Bankruptcy Code.

         24.       Third, the Proposed Orders grant Adequate Protection Liens and Super Priority

Claims to the Prepetition Secured Creditors on all personal and real property of the Debtors,

including “Commercial Tort Claims,” but excluding Avoidance Actions. Proposed Order ¶¶ 5, 6.

Notably, the Prepetition Secured Creditors could not obtain a lien on Commercial Tort Claims

outside of bankruptcy without specifically delineating each action in which it claimed a lien. See,

e.g., Helms v. Certified Packaging Corp., 551 F.3d 675, 681 (7th Cir. 2008) (holding that, unlike

most other forms of collateral, UCC requires specific identification of each tort claim in security

agreement). Given that the Prepetition Secured Creditors are essentially using the Chapter 11

Cases to dispose of their Collateral (and without paying the attendant costs), they should not

receive collateral unavailable to them outside of bankruptcy. Accordingly, Avoidance Actions and

Commercial Tort Claims (specifically D&O claims and related insurance policies and proceeds)

should be expressly excluded from the Adequate Protection Liens and Super Priority Claims.

Moreover, the Proposed Orders should clarify that the proceeds of the Avoidance Actions and

Commercial Tort Claims are also excluded from the Adequate Protection Liens and Super Priority

Claims.



                                                  12

4844-7356-1799v1
2616900-014462 08/13/2020

Case 20-81688-CRJ11             Doc 322 Filed 08/13/20 Entered 08/13/20 11:58:38               Desc
                                 Main Document    Page 12 of 21
         25.       Fourth, the Committee is concerned with the sufficiency of the Carve-Out for

professional fees. As a threshold matter, it is unclear whether the Professional Fee Reserve

includes the Secured Creditor’s professional fees. The Proposed Orders require payment of the

Secured Creditors’ professional fees. Proposed Order ¶ G(ii), (iii), (iv). However, the Professional

Fee Reserve is defined as a reserve account for satisfying the fees and expenses of the “Case

Professionals,” i.e., the professionals of the Debtors, the Restructuring Committee and the

Committee. Final Order ¶ 16. The Proposed Order should clarify that the Professional Fee Reserve

is $8,445,750 and is not subject to the Prepetition Secured Creditors professional fee claims.

         26.       The Committee also believes that the total budgeted professional fees are

inadequate, particularly given (i) the status of the sale and (ii) that the Debtors are responsible for

paying the Secured Creditors’ professional fees. The Budget estimates total professional fees and

expenses of approximately $8.4 million through sale closing. But without a stalking horse in place,

the parties’ professionals will be involved in an intense effort to compare and analyze competing

bids, resulting in higher fees than would be generated during a typical sale process. Already, there

are dozens of parties in active discussions with the Debtors about participating in the auction.

Again, the terms of the Proposed Order and Budget risk leaving administrative claims unpaid and

hindering efforts at plan confirmation.

         27.       In sum, the Committee is concerned that the terms of the proposed use of Cash

Collateral will lead to administrative insolvency and prevent the Debtors from confirming a

chapter 11 plan. The Committee therefore requests modifications to the Proposed Order and

Budget in accordance with the issues addressed herein.




                                                  13

4844-7356-1799v1
2616900-014462 08/13/2020

Case 20-81688-CRJ11            Doc 322 Filed 08/13/20 Entered 08/13/20 11:58:38                 Desc
                                Main Document    Page 13 of 21
C.       The Releases impair the Committee’s right to pursue derivative claims.

         28.       The Proposed Order releases all claims of the Debtors against the Prepetition

Secured Lenders, including any lender liability claims. Proposed Order ¶ 12. E (vi). Although the

proposed release is facially limited to claims by the Debtors, it may nevertheless effectively

preclude a Challenge by the Committee. The Debtors are a collection of Delaware corporations

and subsidiary LLCs. The Committee is cognizant of the fact that certain bankruptcy courts,

applying section 18-1002 of the Delaware Liability Company Act,7 have found that derivative

standing for claims by an LLC is limited to the LLC’s members or an assignee. See In re HH

Liquidation, LLC, 590 B.R. 211 (Bankr. D. Del. 2018); In re PennySaver USA Publishing, LLC,

587 B.R. 445 (Bankr. D. Del. 2018); In re Dura Automotive Systems, LLC, case no. 19-12378

(KBO) (Bankr. D. Del. June 9, 2020). In contrast, Delaware law “permits creditors to bring

derivative actions against corporations because when the Debtor is insolvent, the fiduciary duty

owed to the shareholders is transferred to the creditors.” In re PennySaver, 587 B.R. at 467; see

also North American Catholic Educational Programming Foundation, Inc. v. Gheewala, 930 A.2d

92, 101 (Del. 2007) (“Creditors of an insolvent corporation have standing to maintain derivative

claims against directors on behalf of the corporation for breaches of fiduciary duty).

         29.        The Debtors have not provided information to the Committee regarding any

investigation of potential claims they might have against the Prepetition Secured Lenders, the



7
         Section 18-1002 provides: “In a derivative action, the plaintiff must be a member or an assignee of a limited
         liability company interest at the time of bringing the action and: (1) At the time of the transaction which the
         plaintiff complaint; or (2) The plaintiff’s status as a member or an assignee of a limited liability company
         interest had devolved upon the plaintiff by operation of law pursuant to the terms of a limited company
         agreement from a person who was a member or an assignee of a limited liability company interest at the time
         of the transaction.”



                                                          14

4844-7356-1799v1
2616900-014462 08/13/2020

Case 20-81688-CRJ11               Doc 322 Filed 08/13/20 Entered 08/13/20 11:58:38                              Desc
                                   Main Document    Page 14 of 21
value of such claims, and why releasing such claims is appropriate in the context of the use of

Cash Collateral. Accordingly, it is imperative to preserve such claims to afford the Committee a

meaningful opportunity to investigate those claims and bring any necessary Challenges.

Accordingly, the Proposed Order should be modified to provide as to the LLC Debtors that the

releases are not effective immediately such that the releases will not impair the Committee’s

potential standing to assert derivative claims. Instead, the effective date of the release should

therefore be delayed until the expiration of the Challenge Deadline.

    D. The Proposed Order hinders the Committee’s investigation rights.

         30.       Under Bankruptcy Code section 1103(c)(2), one of the duties of a Committee is to

“investigate the acts, conduct, assets, liabilities, and financial condition of the debtor . . . and any

other matter relevant to the formulation of the plan.” 11 U.S.C. § 1103(c)(2). These statutory

duties encompass the investigation of the purported liens of, and potential claims against, the

Prepetition Secured Parties.

         31.       The Proposed Order, however, includes restrictions that unduly restrain and

obstruct the Committee’s ability to fulfill its duties. Specifically, the Proposed Order provides that

all stipulations and findings therein – including the validity, extent and priority of the Prepetition

Secured Creditor’s liens – are binding on all parties in interest, including the Committee, unless

the Committee commences an action against the Prepetition Lenders within the Challenge Period,

i.e. by August 26, 2020, or 30 days from the Petition Date. Proposed Order ¶ 20.

         32.       Consistent with standard practice in large chapter 11 cases, the Challenge Period

should be sixty (60) days after the Appointment Date. Given the August 6 Appointment Date, the

proposed Challenge Period only gives the Committee a total of 20 days to: (i) retain counsel, (ii)

conduct discovery to investigate potential Challenges relating to over $200 million of secured

                                                   15

4844-7356-1799v1
2616900-014462 08/13/2020

Case 20-81688-CRJ11             Doc 322 Filed 08/13/20 Entered 08/13/20 11:58:38                 Desc
                                 Main Document    Page 15 of 21
claims; and (iii) draft a complaint(s) against the Prepetition Secured Creditors. This timeframe is

simply unrealistic, particularly considering that the focus of the Committee since formation has

been on this Motion and the Sale Motion, in addition to getting up to speed on the Chapter 11

Cases. Extending the Challenge Period will enable the Committee fully and appropriately

investigate claims for the benefit of the Debtors’ estates. Additionally, the Proposed Order should

expressly reserve the Committee’s right to seek an extension of the Challenge Period for cause.

         33.       The Proposed Order also limits the Committee to spending “more than an aggregate

of $25,000 of the proceeds of the Prepetition Collateral (including the Cash Collateral) or the

Carve-Out . . . during the Challenge Period to investigate the claims and liens of the Prepetition

Secured Creditors.”         Proposed Order ¶ 18.   The limited investigation budget provides the

Prepetition Secured Lenders with further insulation and benefit at the expense of unsecured

creditors. See In re Tenney Village, Co., Inc., 104 B.R. 562, 568-69 (Bankr. D.N.H. 1989) (court

found that a cap on fees to bring actions against prepetition lenders disincentivized bringing said

actions in disregard of the debtor’s duty to the estate). Again, if the Prepetition Secured Lenders

are going to utilize the Chapter 11 Cases to dispose of their collateral, the Committee must have

sufficient resources to examine their potential claims against the Prepetition Secured Creditors.

The Committee submits that in the context of a case with this degree of complexity and appropriate

investigation budget is $125,000.00.

         34.       The Debtors suggest that the constraints on the Committee’s investigation rights

are appropriate because of the Prior Cases. However, the Committee’s proposed counsel in these

Chapter 11 Cases served as committee counsel in the Prior Cases and can represent to the Court

that there was no meaningful lien investigation in those cases because they involved a prepackaged

plan of reorganization with 100% distributions to unsecured creditors. In these cases, by contrast,

                                                   16

4844-7356-1799v1
2616900-014462 08/13/2020

Case 20-81688-CRJ11             Doc 322 Filed 08/13/20 Entered 08/13/20 11:58:38             Desc
                                 Main Document    Page 16 of 21
the Debtors have alleged that the Prepetition Secured Creditors are woefully undersecured, and

unsecured creditors risk recovering nothing.          Accordingly, a thorough investigation of the

Prepetition Secured Creditors’ liens is necessary and appropriate in furtherance of discharging the

Committee’s statutory duties.

         35.       The Committee further requests that the Proposed Order expressly grant the

Committee standing to pursue any Challenge against the Prepetition Secured Lenders. Granting

such relief at this juncture would avoid the unnecessary consumption of resources attendant to

filing a motion for standing at a later date and would alleviate concerns associated with the

Debtors’ proposed releases. At a minimum, the Proposed Order should be modified to provide for

the tolling of the Challenge Deadline pending the Court’s ruling on any motion to grant the

Committee standing.

         36.       Finally, the Proposed Order permits the Debtors to settle and compromise any

Challenge filed by the Committee against the Prepetition Secured Lenders. Proposed Order

¶ 20(b). Should the Committee obtain standing to pursue claims because the Debtor unjustifiable

refuses to assert those claims, the Debtors should not have the right to interfere with the

Committee’s pursuit of those claims. Accordingly, this provision should be stricken from the

Proposed Order.

    E. Other provisions in the Proposed Order are unreasonable and should not be
       approved without modification.

         37.       In addition to the objectionable provisions of the Proposed Order noted above, the

Committee believes that certain other provisions are improper and should not be approved by the

Court. These include the following:

               a. Sale Deadlines. The Proposed Order prohibits the use of Cash Collateral after
                  certain Termination Events, including the failure of the Debtors to meet certain sale

                                                    17

4844-7356-1799v1
2616900-014462 08/13/2020

Case 20-81688-CRJ11             Doc 322 Filed 08/13/20 Entered 08/13/20 11:58:38                Desc
                                 Main Document    Page 17 of 21
                   milestones. See Proposed Order ¶ 11(xi), (xii), (xv), and (xvi). The Committee
                   objects to these Termination Events as inappropriate for the reasons set forth in the
                   Committee’s Limited Objection to the Debtors’ Motion for (I) an Order
                   establishing Bidding Procedures and Related Relief and (ii) and Order or Orders
                   Approving the Sale of the Debtors’ Assets, filed concurrently herewith, and
                   incorporates those arguments by reference here.

              b. Authority to Settle Claims. Paragraph F (vi)(3) of the Proposed Order prohibits the
                 Debtors from making any payments “in settlement of any claim, action or
                 proceeding.” The provision should be modified to permit the Debtors to pay such
                 amounts approved by the Court.

              c. Rights and Remedies upon a Termination Event.

                        i. Paragraph 12(b) of the Proposed Order requires that a Termination Notice
                           must be served on the Debtors and various other professionals. The
                           Committee and its proposed counsel should be added as required service
                           parties.

                       ii. Paragraph 12(c)(i) provides that, upon issuance of a Termination Notice by
                           the Priority Term Loan Agent, the automatic stay is deemed modified to
                           permit the Priority Term Loan Secured Lenders to exercise all rights and
                           remedies against the PPE Collateral. The provision should be revised to
                           match the less objectionable remedy provided to the Controlling Agent in
                           paragraph 12(c)(ii) (upon issuance of a Termination Notice by the
                           Controlling Agent, the Controlling Agent shall be entitled to file a motion
                           on seven (7) business days’ notice for relief from the automatic stay). The
                           Debtors offered no principled reason to differentiate between the lender’s
                           remedies, let alone evidence of why sty relief absent a motion would be
                           necessary. Given the highly prejudicial nature of the relief, the Committee
                           believes it appropriate to remove the provision.

                       iii. Paragraph 12(d) should be modified to provide that the Remedies Notice
                            Period may be extended by order of the Court.

              d. Proofs of Claim.

                        i. Paragraph 15 of the Proposed Order provides that the Prepetition Secured
                           Lenders are not required to file proofs of claim. The provision should either
                           be removed or modified to require the Prepetition Secured Lenders to
                           provide documentation supporting their claims to the Committee.

                       ii. Paragraph 15 further provides that the “books and records of the Prepetition
                           Agents” are deemed “conclusive as to the amounts of the claims of each
                           such party absent manifest error.” Nothing in the Bankruptcy Code

                                                    18

4844-7356-1799v1
2616900-014462 08/13/2020

Case 20-81688-CRJ11              Doc 322 Filed 08/13/20 Entered 08/13/20 11:58:38                Desc
                                  Main Document    Page 18 of 21
                            authorizes this relief; to the contrary, it shifts the burden of the Prepetition
                            Lenders to prove the validity of their claims to the unsecured creditors to
                            disprove their validity. Accordingly, this provision should be stricken.

                       iii. Finally, Paragraph 15 should be revised to clarify that the claims of the
                            Prepetition Secured Creditors remain subject to the filing of a timely
                            Challenge.



               e. Carve-Out.

                        i. The Carve-Out should include the reasonable expenses of the members of
                           the Committee up to an aggregate amount of $10,000.00.

                       ii. Paragraph 16(g) of the Proposed Order unnecessarily burdens professionals
                           by requiring weekly submission of accrued fee estimates to the Debtors.
                           The provision should be revised to require bi-weekly submissions.

               f. Credit-Bidding.

                        i. The Proposed Order permits the Prepetition Secured Parties to credit bid the
                           full amount of any remaining Prepetition Obligations and any superpriority
                           claims in a sale of any Prepetition Collateral. The Prepetition Secured
                           Parties’ rights to credit bid should remain subject to the power of the Court
                           granted in Bankruptcy Code section 363(k) to restrict credit bidding for
                           cause. See, e.g., In re Fisker Automotive Holdings, Inc., 510 B.R. 55, 59
                           (Bankr. D. Del. 2014) (denying credit bid where credit bidding would freeze
                           competitive bidding altogether); In re Free Lance Star Publ’g Co. of
                           Fredericksburg Va., 512 B.R. 798 (Bankr. E.D. Va. 2014) (cause existed to
                           limit creditor’s right to bid at auction sale even as to assets to which creditor
                           has security interest); In re RML Dev., Inc., 528 B.R. 150, 156 (Bankr. W.D.
                           Tenn. 2014) (limiting secured creditor’s ability to credit bid because a “bona
                           fide dispute exists to the extent of the amount of that claim”).

                                  IV.     RESERVATION OF RIGHTS

         38.       The Committee reserves its rights to supplement or otherwise adopt additional

arguments in connection with this Objection up to and including at the Final Hearing on the

Motion.




                                                      19

4844-7356-1799v1
2616900-014462 08/13/2020

Case 20-81688-CRJ11               Doc 322 Filed 08/13/20 Entered 08/13/20 11:58:38                   Desc
                                   Main Document    Page 19 of 21
                                            V.      NOTICE


         39.       The Committee will provide notice of this Objection by email or via CM/ECF to a)

O’Melveny & Myers LLP (Attn: Steve Warren and Jennifer Taylor) and Burr & Forman LLP

(Attn: Derek Meek and Hanna Lahr), proposed counsel for the Debtors; (b) Akin Gump Strauss

Hauer & Feld LLP (Attn: Sarah Schultz and Joanna Newdeck), counsel for the Restructuring

Committee; (c) the Bankruptcy Administrator; (d) Shipman & Goodwin LLP (Attn: Kathleen

LaManna and Nate Plotkin), counsel to Cantor Fitzgerald Securities, as Priority Term Loan Agent;

(e) Brown Rudnick LLP (Attn: Andreas P. Andromalos and Tia C. Wallach), counsel to Whitebox

Advisors LLC; (g) Davis Polk & Wardwell LLP (Attn: Donald Bernstein and Joanna McDonald),

counsel to Ankura Trust Company, LLC as FILO Agent and Exit Term Loan Agent; (f) Pillsbury

Winthrop Shaw Pittman LLP (Attn: Joshua D. Morse and Andrew V. Alfano) and Christian &

Small LLP (Attn: Daniel D. Sparks and Bill D. Bensinger), counsel to the FILO Lenders; and (g)

all parties that have requested notice in the Debtors’ bankruptcy cases.

                                            V.      CONCLUSION

         40.       For the reasons stated and upon the cited authorities, the Committee respectfully

requests that the Court deny the Motion unless the Proposed Order is modified consistent with

the objections and proposed revisions set forth herein.

         WHEREFORE, the Committee requests that this Court sustain this Objection and grant such other

relief as is necessary and proper.




                                                   20

4844-7356-1799v1
2616900-014462 08/13/2020

Case 20-81688-CRJ11             Doc 322 Filed 08/13/20 Entered 08/13/20 11:58:38                Desc
                                 Main Document    Page 20 of 21
                                         BAKER DONELSON BEARMAN CALDWELL &
                                         BERKOWITZ, P.C.
                                         /s/Matthew M. Cahill
                                         Matthew M. Cahill, Esq.
                                         Rita L. Hullett, Esq.
                                         420 20th Street N
                                         Birmingham, AL 35203
                                         Telephone: (205) 276-9807
                                         Email: rhullett@bakerdonelson.com
                                                 mcahill@bakerdonelson.com


                                         -     and -

                                         FOX ROTHSCHILD LLP

                                         /s/ Gordon E. Gouveia
                                         Gordon E. Gouveia
                                         321 N. Clark St., Ste. 1600
                                         Chicago, IL 60654
                                         Telephone: (312) 980-3816
                                         ggouveia@foxrothschild.com

                                         and

                                         Michael A. Sweet
                                         345 California Street, Ste. 2200
                                         San Francisco, CA 94104
                                         (415) 364-5560
                                         msweet@foxrothschild.com




                                             21

4844-7356-1799v1
2616900-014462 08/13/2020

Case 20-81688-CRJ11         Doc 322 Filed 08/13/20 Entered 08/13/20 11:58:38   Desc
                             Main Document    Page 21 of 21
